
94 N.Y.2d 834 (1999)
In the Matter of ANDERSON GARCIA, Appellant,
v.
GLENN S. GOORD, as Commissioner of the Department of Correctional Services, et al., Respondents.
Court of Appeals of the State of New York.
Submitted November 1, 1999.
Decided December 2, 1999.
Appeal, insofar as taken from the Appellate Division order which denied appellant's motion for reargument or, in the alternative, leave to appeal to the Court of Appeals, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
